Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
     Certification of Tina Oppelt Paralegal in Support of Motion Page 1 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
     Certification of Tina Oppelt Paralegal in Support of Motion Page 2 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
     Certification of Tina Oppelt Paralegal in Support of Motion Page 3 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
     Certification of Tina Oppelt Paralegal in Support of Motion Page 4 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
     Certification of Tina Oppelt Paralegal in Support of Motion Page 5 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
     Certification of Tina Oppelt Paralegal in Support of Motion Page 6 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
     Certification of Tina Oppelt Paralegal in Support of Motion Page 7 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
     Certification of Tina Oppelt Paralegal in Support of Motion Page 8 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
     Certification of Tina Oppelt Paralegal in Support of Motion Page 9 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
    Certification of Tina Oppelt Paralegal in Support of Motion Page 10 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
    Certification of Tina Oppelt Paralegal in Support of Motion Page 11 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
    Certification of Tina Oppelt Paralegal in Support of Motion Page 12 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
    Certification of Tina Oppelt Paralegal in Support of Motion Page 13 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
    Certification of Tina Oppelt Paralegal in Support of Motion Page 14 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
    Certification of Tina Oppelt Paralegal in Support of Motion Page 15 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
    Certification of Tina Oppelt Paralegal in Support of Motion Page 16 of 17
Case 08-14631-GMB Doc 248-2 Filed 04/30/08 Entered 04/30/08 15:29:18 Desc
    Certification of Tina Oppelt Paralegal in Support of Motion Page 17 of 17
